     Case 25-30895       Doc 26      Filed 04/11/25 Entered 04/11/25 11:57:26                 Desc Main
                                       Document     Page 1 of 1


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


In re:

         Afnan Mohammed Husain,
                                                                                                 Chapter 13
                                                                                          Case No. 25-30895
                         Debtor.


                         ORDER REFERRING MATTER FOR MEDIATION



        This case came before the court for hearing on 'HEWRU V(PHUJHQF\0otion to &onvert
&hapter 7 to&KDSWHU6XEFKDSWHU9[Doc. 19] and(mergency 0otion to (Qforce $Xtomatic 6Way,
&Rmpel ,mmediate 7urnover, and 6anction for :Lllful 9Lolation [Doc. 20@%ridgecrest Credit
Company, LLCDQGWKH8QLWHG6WDWHV7UXVWHHRSSRVHGWKHVHHPHUJHQF\PRWLRQV$0RWLRQWR&RPSHO
7XUQRYHURI3URSHUW\&KDSWHU>'RF@DOVRLVSHQGLQJ7KHVHPRWLRQVDUHVFKHGXOHGIRUKHDULQJRQ
$SULODQGVKRXOGEHVXEMHFWWRPHGLDWLRQJudge William J. Fisher has agreed to mediate DOORI
WKHVHPRWLRQV

IT IS ORDERED:
     7KHSDUWLHVLGHQWLILHGDERYHVKDOOVXEPLWWRPHGLDWLRQDQGVKDOODSSHDUDQGSDUWLFLSDWH
       DVRUGHUHGE\WKHPHGLDWRUSULRUWR$SULO.

       Judge William J. Fisher will serve as the mediator.

       The Mediating Judge is being appointed because of a judicial position as, and to act in thespecific
         capacity as, a United States Bankruptcy Judge. By serving as a mediating judge, the
         Mediating Judge performs judicial duties. See, e.g., 28 U.S.C. § 651; Fed. R. Civ. P. 16(a)(5),
         (c)(2)(I); Fed. R. Bankr. P. 7016; Local Rule 9019-2; Code of Conduct for United States
         Judges,Canon 3(A)(4)(d). As such, the Mediating Judge and all persons assisting the
         Mediating Judgewill have full, unqualified judicial immunity, as well as all other privileges,
         immunities, andprotections of a United States Bankruptcy Judge and judiciary employees,
         regarding any mattersarising from or related to the Mediating Judge’s role as mediating judge.



                                                               BY THE COURT:
Dated: April 11, 2025

                                                               V.DWKHULQH$&RQVWDQWLQH
                                                                __________________________
                                                               Katherine A. Constantine
                                                               United States Bankruptcy Judge
